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                                                                           Catherine Youngman
49 Market Street                                                           Office Managing Partner
Morristown, NJ 07960-5122
Tel 973.992.4800 Fax 973.992.9125
www.foxrothschild.com



KIERAN ENSOR
Direct No: 973 548 3378
Email: KEnsor@FoxRothschild com




                                              July 28, 2022

VIA ECF

The Honorable Esther Salas, U.S.D.J.
United States District Court for the District of New Jersey
M.L. King, Jr. Federal Building & Courthouse
50 Walnut Street
Newark, New Jersey

Re:       Legal Bay LLC v. Mustang Funding, LLC, et al.
          Civ. A. No. 22-3941 (ES) (JBC)

Dear Judge Salas:

        This firm represents plaintiff, Legal Bay, LLC (“Legal Bay”) in the above-captioned
matter. We write with consent of counsel for defendants, Mustang Funding, LLC, Mustang
Specialty Funding I, LLC, Mustang Specialty Funding II, LLC, James Beltz, and Kevin
Cavanaugh (collectively, “Defendants”) to submit and propose the following motion schedule
related to Defendants’ Motion to Dismiss, ECF No. 19.

       Following Defendants’ removal from the Superior Court of New Jersey, Essex Vicinage
on June 15, 2022, (ECF No. 1), and the Court’s signing of the parties’ consent order extending
Defendants’ time to answer, move, or otherwise respond on June 22, 2022, (ECF Nos. 16, 17),
Defendants moved to dismiss on July 22, 2022. (ECF No. 19). The motion is presently returnable
August 15, 2022. Following a meet and confer, the parties agreed upon the following proposed
schedule:

                •    August 31, 2022 – Legal Bay’s motion response due

                •    September 19, 2022 – Defendants’ reply due

                •    October 3, 2022 – Return date for Motion to Dismiss (oral argument requested)




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